                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 UNITED STATES OF AMERICA,                     )
                                               )
          Plaintiff,                           )
                                               )
 v.                                            )   NO. 3:07-cr-00159
                                               )   JUDGE CRENSHAW
 JAMES C. MCWHORTER,                           )
                                               )
          Defendant.                           )

                                          ORDER
         Pending before the Court is Government’s Motion to Reopen Case (Doc. No. 702). The

Defendant is DIRECTED to file a response to the motion by March 7, 2017.

         IT IS SO ORDERED.



                                                   ____________________________________
                                                   WAVERLY D. CRENSHAW, JR.
                                                   UNITED STATES DISTRICT JUDGE




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